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                                 No. 6:20-cv-00564

              Lauren Terkel; Pineywoods Arcadia Home Team, Ltd.;
              Lufkin Creekside Apartments, Ltd.; Lufkin Creekside
                 Apartments II, Ltd.; Lakeridge Apartments, Ltd.;
                 Weatherford Meadow Vista Apartments, LP; and
                     MacDonald Property Management, LLC,
                                     Plaintiffs,
                                         v.
            Centers for Disease Control and Prevention; Director Ro-
            chelle P. Walensky; Acting Chief Sherri A. Berger; United
            States Department of Health and Human Services; Acting
             Secretary Norris Cochran; and United States of America,
                                   Defendants.


                              FINAL JUDGMENT

              The claims of plaintiffs Pineywoods Arcadia Home Team,
           Ltd. and Weatherford Meadow Vista Apartments, LP are dis-
           missed without prejudice for lack of standing.
               The court declares that the challenged agency order—
           Temporary Halt in Residential Evictions to Prevent the Fur-
           ther Spread of COVID-19, 85 Fed. Reg. 55,292 (Sept. 4, 2020),
           extended and modified by 86 Fed. Reg. 8,020 (Feb. 3, 2021)—
           exceeds the power granted to the federal government to “reg-
           ulate Commerce . . . among the several States” and to “make
           all Laws which shall be necessary and proper for carrying into
           Execution” that power, U.S. Const. art. I, § 8. That order is
           held and declared unlawful as “contrary to constitutional . . .
           power.” 5 U.S.C. § 706(2)(B).
              Plaintiffs’ prayer for injunctive relief is denied without
           prejudice.
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              The clerk of court is directed to enter this document on the
           docket as a final judgment pursuant to Federal Rule of Civil
           Procedure 58 and to close this case.
                              So ordered by the court on February 25, 2021.



                                             J. C AMPBELL B ARKER
                                           United States District Judge




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